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                                                        December 21, 2020

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Joel Schneider, U.S.M.J.
     U.S. District Court - District of New Jersey                      U.S. District Court - District of New Jersey
     Mitchell S. Cohen Building & US                                   Mitchell S. Cohen Building & US
     Courthouse                                                        Courthouse
     1 John F. Gerry Plaza, Courtroom 4D                               1 John F. Gerry Plaza, Courtroom 3C
     4th and Cooper Streets                                            4th and Cooper Streets
     Camden, NJ 08101                                                  Camden, NJ 08101

                Re:        IN RE: VALSARTAN, LOSARTAN, & IRBESARTAN PRODUCTS
                           LIABILITY LITIGATION
                           Civil No. 19-2875 (RBK/JS)

     Dear Judge Kugler and Judge Schneider:

                Please accept this letter on behalf of the Plaintiffs in advance of the December 22, 2020

     case management conference.

          1. Request for Modifications to Case Management Schedule:

          The parties are meeting and conferring about jointly proposing modifications to CMO 22

     which would extend certain discovery beyond April 1, 2021, without disruption to existing

     deadlines for Daubert briefing and hearings, and include a parallel track for Class Certification

     briefing in this CMO. The parties hope to present a joint proposal by tomorrow’s conference or
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 request a separate conference with the Court dedicated to this subject to take place no later than

 early next week.

    2. Manufacturer Deposition Issues:

        Defendants’ liaison counsel requested at the most recent status conference that the Court

 should determine the number of depositions permitted to taken by Plaintiffs of API and finished

 dose manufacturer witnesses, and the length of the depositions. Based upon ongoing discussions,

 Defendants have agreed that it is premature to address the length of depositions, thus that is not

 an issue. The only defendant challenging the number of depositions requested to date is ZHP, so

 that is the only Defendant as to which there is an issue to be discussed. It is likely that there will

 not be such a dispute with the other Defendants, and there is no reason to argue a hypothetical

 dispute that may never need to be addressed.

        By way of background. at the writing of this letter Plaintiffs are still awaiting confirmed

 lists of the 30b6 witnesses who will address each 30b6 topic. The most that has been disclosed,

 for a few manufacturers, has been the names of those who will address 30b6 topics, and in a few

 cases the general areas that are expected to be addressed by various witnesses or a handful of

 topics a witness may address. Thus, Plaintiffs do not have a clear picture of how many and

 which witnesses will address which topics. Defendants have repeatedly advised that they have

 until December 23, 2020 to make these disclosures. With the exception of ZHP it is premature to

 argue about the number of witnesses to be deposed when no other Defendant has objected to the

 number identified by Plaintiffs to date, and frankly Plaintiffs do not believe there will or should
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 be such a dispute to be resolved as Plaintiffs have significantly limited the numbers of witnesses

 targeted for depositions.

        On December 18, 2020, Plaintiffs discussed the witnesses to be produced by ZHP. ZHP

 had provided a list of some of the witnesses prioritized by Plaintiffs, with dates offered.

 Plaintiffs accepted the dates for four of the witnesses, subject to later discussion on the length of

 the depositions. As to the rest, Plaintiffs raised questions. For example, Jun Du, who resides in

 New Jersey, was offered in March, 2021 (and will not be designated on any 30b6 topics).

 Plaintiffs questioned the decision not to designate Mr. Du to testify regarding any 30b6

 topics, asked to depose Mr. Du up front at the start in January or early February, 2021,

 and were told that Mr. Du is unavailable at that time as he is traveling to China in

 January! Similarly, every witness who resides in China, inclusive of all of the 30b6 witnesses

 addressing the core issues such as testing, the development of the manufacturing process, and

 cGMP and quality assurance activities, has been offered in March, with several during the last

 days before, and in one case on the date Plaintiffs’ expert reports are due. During the December

 18, 2020 call defense counsel advised that it is impossible to produce these witnesses, whose

 testimony is critical to Plaintiffs’ expert reports in many cases, until March. Plaintiffs were

 advised this is due to quarantine issues and the loss of the entire month of February due to the

 holiday in China. Thus, the first month and a half of the mere 2 and one-half months allotted to

 take depositions cannot be used to depose the key liability/general causation witnesses from ZHP

 who are needed for Plaintiffs to understand masses of documents, and advance expert reports.

 ZHP did agree to try to alter the scheduling within the month of March, which is marginally
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 helpful but not a solution to the overall problem of bottlenecking key testimony from ZHP, and

 likely other Defendants, in the final days before expert reports are due. In light of those

 discussions, Plaintiffs expect that ZHP will not again state that Plaintiffs should be forced to

 accept the dates offered by ZHP.

        This issue is very difficult and compounds the tremendous time squeeze that is being put

 on the Plaintiffs to conduct depositions of all manufacturer defendants, and produce expert

 reports in a matter of a few months. This is notwithstanding that the Defendants have been given

 multiple lengthy extensions and well over a year to produce their documents, beginning with the

 core discovery documents. It is thus very important that whatever scheduling is confirmed is

 equitable, and not severely prejudice Plaintiffs’ development of the deposition testimony and

 expert reports.

    3. ZHP Witness Disputes

        At the outset it is important to remind the Court of the complex, interrelated corporate

 organizational structure for ZHP, since the “ZHP” witnesses to be deposed are in numerous cases

 employed by ZHP subsidiaries and affiliates that defense counsel asserts are truly separate

 entities, but who are acknowledged to be necessary to respond to various topics. Plaintiffs seek

 to depose individuals from six ZHP entities:

        (1) ZHP itself,

        (2) Shanghai Syncores (which developed ZHP’s manufacturing process for Valsartan
            API),

        (3) Prinbury (which developed the manufacturing process for Valsartan finished dose),
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        (4) Huahai US (ZHP’s U.S. agent to the FDA and at least partially responsible for ZHP’s
            sales, as recognized by ZHP’s proffer of Eric Iozzia, Director of Sales at Huahai US,
            who reports to ZHP’s sales department, as a deponent),

        (5) Prinston (another entity that handles parts of ZHP’s regulatory affairs in the U.S.),
            and

        (6) Solco (who sold and distributed ZHP’s finished dose Valsartan in the U.S.).

        Plaintiffs have requested the depositions of 20 witnesses under the ZHP umbrella, broken

 down as follows:

        (1) John Iozzia, Director of Sales at Huahai US (agreed),

        (2) Lijie Wang, Vice President of Regulatory Affairs at Prinston (agreed),

        (3) Remonds Gergis, Vice President of Quality Assurance at Prinston (agreed).

        (4) Hai Wang, President of Solco (formerly at Huahai US and Prinston) (agreed),

        (5) Jun Du, CEO of Prinbury, Huahai US, Prinston, and Solco (agreed),

        (6) Jay (Jie) Wang, Vice President of Business Development at ZHP (agreed),

        (7) Linda (Lihong) Lin, Director of Regulatory Affairs at ZHP (agreed),

        (8) Peng Dong, Deputy Director of Technology (Manufacturing), Department I at ZHP
            (agreed),

        (9) Hong (Eric) Gu, President of Shanghai Syncores (agreed),

        (10)   Minli Zhang, Director of Finished Dose Formulation Quality at ZHP (agreed),

        (11)   Qiangming Li, Senior Director of Analysis at ZHP (agreed),

        (12)   Min Li, Vice President of Analysis and Testing at ZHP (agreed),

        (13)   Jucai Ge, Director of API Quality Assurance at ZHP (agreed),
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        (14)   Xiaodi Guo, Vice President of Huahai US and Prinston (agreed) (ZHP has agreed

            to Mr. Guo as a deponent; however, he is currently “stuck” in China, and the Parties

            do not know when he will be able to return to the U.S., where the Parties intend to

            take his deposition),

        (15) Yuelin Hu, Assistant Director of Quality Operation, Department I, at ZHP
            (disputed),

        (16) Yanfeng (Lucy) Liu, Deputy Director & Manager of API Regulation, at ZHP
            (disputed),

        (17) Fengyang (Xavier) Tang, Assistant Manager of Business Development, Group I,
            at ZHP (disputed),

        (18)   Mi (Karen) Xu, Senior Director of Market Development at ZHP (disputed),

        (19)   Eric Tsai, General Manager of Prinbury (disputed), and

        (20) Baohua Chen, General Manager of ZHP and CEO of Shanghai Syncores
            (disputed).

 Preliminarily, Plaintiffs anticipate ZHP’s primary argument against the disputed deponents to be

 alleged duplication with already agreed witnesses. However, ZHP has proffered such facially

 “duplicative” deponents in ZHP’s Analysis and Testing Department: Min Li and Qiangming Li,

 because the subject matter is massive, and many more than the 20 witnesses requested to date

 have had significant involvement in key aspects of this case. Clearly, ZHP understands that

 Plaintiffs cannot be expected to rely solely on one witness from each of ZHP’s departments.

 Additionally, as Plaintiffs previously noted in their last submission with the Court, many ZHP

 employees appeared to utilize Hotmail accounts to communicate with customers and other third-

 parties. Moreover, Plaintiffs have now seen in documents that ZHP employees utilized private
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 commercial chatting applications such as WeChat and Skype to communicate with customers.

 Plaintiffs believe that for some of these customer-facing employees, individual depositions are

 necessary to address this information. As such, Plaintiffs ask the Court to order the depositions

 of the following individuals: 1

        Yuelin Hu:




 1
          Plaintiffs have redacted the substance of their discussion of each disputed custodian in
 the letter filed on ECF because it contains extensive descriptions and quotations from documents
 that Defendants have over-designated as confidential. Plaintiffs will email an unredacted copy of
 this letter to the Court and Defendants’ Liaison Counsel. The respective Defendants can then
 decide whether to file a motion to seal this letter and the attached Exhibits.
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        Yanfeng (Lucy) Liu:




        Fengyang (Xavier) Tang:
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        Mi (Karen) Xu:




        Eric Tsai:
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     4. Teva TAR Protocol

         Plaintiffs and Teva reached agreement on the Protocol to govern Teva's continued search

  of custodial documents, and the Protocol is being submitted to the Court under separate cover.

     5. Plaintiffs’ Additional Discovery of Wholesaler and Retail Pharmacy Defendants

         On December 8, 2020, Plaintiffs served Wholesaler and Retail Pharmacy Defendants

  with two forms of draft discovery: (i) second sets of document requests, and (ii) Rule 30(b)(6)

  deposition notices. (See Exs. BB & CC). Plaintiffs’ intention was to confer with Defendants

  about the scope, for the final document requests and notices to be entered by the Court, as have

  been the practice in this litigation with all other discovery to date. However, Wholesaler and
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  Retail Pharmacy Defendants have refused to meet and confer about Plaintiffs’ draft

  discovery. Instead, Wholesaler and Retail Pharmacy Defendants claim that any additional

  discovery directed to them should occur after the current April 1 discovery deadline, or even

  after an order on class certification.

          This is improper. The current discovery schedule calls for the completion of all fact

  discovery by April 1, 2021. Plaintiffs cannot agree to serve – let alone even discuss – additional

  discovery on two tiers of Defendants until after the current fact discovery deadline.

          Additionally, Plaintiffs’ additional document requests and deposition notices are

  narrowly targeted on important liability and class issues. The document requests largely focus

  on very discrete, highly relevant documents; for example, warranties received and made about

  VCDs, inventory management policies, and purchase/sales agreements for VCDs. Notably,

  Retail Pharmacy and Wholesaler Defendants do not even object or argue to the substance of any

  requests; they merely claim they should not even have to deal with this discovery until many

  months from now.

          Plaintiffs had agreed to table additional discovery of Wholesaler and Retail Pharmacy

  Defendants when Plaintiffs negotiated their first sets of document requests to these Defendants

  (which took from December 2019 to July 2020). The expectation at that time was that the

  parties’ efforts should initially focus on Manufacturer Defendants, with additional discovery of

  Wholesaler and Retail Pharmacy Defendants to follow. The time for that additional discovery to

  follow, however, is now.
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          Similarly, Plaintiffs’ corporate deposition notices are tailored to the issues unique to the

  Wholesaler and Retail Pharmacy Defendants in this case. There is no basis, in the existing

  schedule or otherwise, for these Defendants to unilaterally resist deposition discovery until after

  the Court’s April 1, 2021 deadline.

          For these reasons, given Wholesaler and Retail Pharmacy Defendants refusal to even

  meet and confer about Plaintiffs’ proposed deposition notices and document requests, the Court

  should find these Defendants have waived any objections to them and enter Plaintiffs’ notices

  and document requests as Exhibits DD & EE.

     6.   Issues With Wholesaler Defendants’ DFSs and Plaintiffs’ First Set of Document
          Requests to Wholesaler Defendants

          Plaintiffs are pleased to report that, since the last CMC, the parties have agreed to a

  schedule for Wholesalers’ completion of Defendant Fact Sheets.

          There remains, however, ripe disputes concerning Wholesaler Defendants’ responses and

  objections to Plaintiffs’ first set of documents (which were entered in July 2020, after months of

  negotiation, letter briefing, and argument). Plaintiffs first raised these issues with Wholesaler

  Defendants on November 18, 2020. (See Ex. FF hereto). Following a meet and confer on

  December 1, Wholesaler Defendants did not follow up again until December 17 but only to

  respond that any issue concerning these prior requests should be handled by way of Plaintiffs

  serving new document requests. (See Ex GG hereto). This of course is ironic because, as

  discussed above, Wholesaler Defendants have refused even to meet and confer about Plaintiffs’

  draft second set of document requests, and further contend any further discovery of them should

  take place after the current April 1 discovery deadline.
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         First, all three Wholesaler Defendants have objected to producing data responsive to the

  court-ordered document requests on the basis that the Drug Supply Chain Security Act (“DSCSA”)

  prohibits them from doing so, even under court order. (See Ex. GG hereto(Wholesaler Defendants’

  Objs. & Resps.)). Wholesaler Defendants never raised this issue in the months-long meet and confer

  process, in letter briefing to the Court, or during lengthy oral argument. Thus, any belated

  “objection” to producing responsive data has been waived. Further, the Confidentiality Order in this

  case vitiates any confidentiality concerns. Finally, Wholesaler Defendants’ assertion that Plaintiffs

  should just get bits of this same data from Manufacturer and Retailer Defendants, and piece it

  together themselves to infer what Wholesaler Defendants might possess, is no solution. As the party

  resisting discovery, it is Wholesaler Defendants’ burden to show that the data they possess is

  duplicative of data from other sources. They cannot hoist upon Plaintiffs the burden of guessing

  what data each Manufacturer or Retail Pharmacy Defendant might send or receive to each

  Wholesaler Defendant, and in turn what might reside in each Wholesaler Defendant’s files. In lieu of

  the data production, Plaintiffs are not opposed to a stipulation to the effect that each Wholesaler

  Defendant has and maintains all of the data required by the DSCSA for VCDs, and specifying what

  data fields they receive from each Manufacturer, or send to each Retail Pharmacy Defendant. But to

  date, Wholesaler Defendants have not been willing to discuss the contours of such a

  stipulation. Thus, Plaintiffs have no choice but to insist that Wholesaler Defendants produce that

  which they agreed to produce in the court-ordered document requests. The Court’s recent Motion to

  Dismiss ruling rejecting preemption under the DSCSA only serves to highlight that the DSCSA’s

  provisions were meant to co-exist with judicial proceedings. Wholesaler Defendants’ arguments that
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  they are prohibited by the DSCSA from producing this information should be flatly rejected at this

  point.

           Second, each Wholesaler Defendant has heavily redacted agreements they have for the

  purchase or sale of VCDs. They also treated the agreed-upon document request calling for

  “documents sufficient to identify a list of your significant employees involving in managing the

  recall of VCDs” as an interrogatory. Instead of producing documents, they each provided a narrative

  answer identifying a single employee. (See Exs. GG (at Resps. to Req. No. 16)). After Plaintiffs

  waited for weeks to hear Wholesaler Defendants’ final position on all of this, Wholesaler Defendants

  responded that these issue are subsumed by Plaintiffs’ new draft document requests – the same

  requests Wholesaler Defendants refuse to meet and confer about, and which they say should not be

  answered until after the April 1 fact discovery deadline. Wholesaler Defendants cannot have it both

  ways. They either need to produce documents in response to the existing court-ordered document

  requests, or in response to Plaintiffs’ proposed second set of document requests. They cannot leave

  the production of these highly relevant documents in limbo by gaming the meet and confer process

  and court-ordered discovery schedule.

      7. Deposition Protocol Addendums:

           Plaintiffs have reached agreement with the Defendants regarding the Chinese and Indian

  national addendums. Teva previously advised that there may not be a need to pursue a third

  Addendum, and would forward a proposed revised version if it becomes necessary.                That

  Addendum is awaited and the parties can update the Court at the conference.
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     8. Torrent Confidentiality Designations:

         Plaintiffs are in receipt of Torrent's submission to the Court. First, Plaintiffs reiterate that

  Torrent did not timely move to maintain the confidentiality designations per the terms of the

  Confidentiality Order. This is not disputed. Plaintiffs maintain that none of the documents reach

  the level of sensitivity required to justify the designations, and in particular information

  regarding the recalls, the manufacturing process changes, internal scrutiny of quality assurance

  issues, and internal discussion of the need to reimburse customers. All must be seen in the larger

  context of a worldwide health and safety crisis resulting from this and the other Defendants'

  carelessness fueled by a motive to cut costs for profit reasons, the details of which have been

  disclosed to a large extent through FDA communications. The public health ramifications of this

  crisis outweighs all of the arguments for confidentiality, to the extent any of these documents

  may be seen to approach the level of sensitivity needed to justify these designations. Plaintiffs

  request an order de-designating the five exemplars at issue, and directing Torrent to bring its

  entire document production into compliance with the Court's ruling.

     9. Joint Stipulation Regarding Dismissal of Torrent Private Ltd.

         Torrent filed a joint stipulation regarding the dismissal of Torrent Private and the

  acceptance of service of Torrent Pharmaceuticals on November 13, 2020. (ECF 630). Plaintiffs

  respectfully ask the Court to approve this joint stipulation.

                                         Respectfully,



                                         ADAM M. SLATER
